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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


  UNITED STATES OF AMERICA,

                  v.                           Case No. 8:24-cr-00068-KKM-TGW

  TIMOTHY BURKE,

        Defendant.
                                       /

   MOTION OF THE FIRST AMENDMENT LAWYERS ASSOCIATION
         FOR LEAVE TO JOIN IN THE AMICUS BRIEF OF
   THE REPORTERS COMMITTEE FOR FREEDOM OF THE PRESS

        The First Amendment Lawyers Association (“FALA”) respectfully moves the

  Court for leave to join in the amicus brief filed herein on June 27, 2025 by The

  Reporters Committee for Freedom of the Press (Doc. 146), in lieu of FALA filing a

  separate amicus brief.

        Counsel for The Reporters Committee amicus curiae, Gabe Rottman, Esq.,

  has authorized the undersigned to represent that The Reporters Committee supports

  this request.

        Proposed additional amicus, FALA, is a nonprofit organization comprised of

  attorneys across the United States with a shared commitment to preserving and

  advancing the rights guaranteed by the First Amendment. Since its founding in the

  1960s, FALA has actively participated in cases concerning free expression, freedom
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  of the press, and restrictions on speech in public spaces. FALA members are often

  on the front lines of First Amendment litigation, and the organization frequently

  appears as amicus to protect against government encroachment on constitutional

  expression.

        Proposed amicus, FALA, shares The Reporters Committee’s concerns

  regarding the chilling effect of the Government’s position in this matter, adopts the

  arguments advanced by The Reporters Committee as though separately stated herein,

  and accordingly urges the Court to reject the Government’s position, for all of the

  reasons stated in The Reporters Committee’s brief.

        There was no opposition to The Reporters Committee amicus brief and, as

  stated in the motion of The Reporters Committee, “District Courts have broad

  discretion to grant leave to file an amicus curiae brief.” We accordingly urge the

  Court to exercise its discretion in this case to permit FALA to join in the amicus brief

  filed by The Reporters Committee, in lieu of FALA filing a separate brief.
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  Dated: July 9, 2025

                                         Respectfully submitted,

                                         BENJAMIN, AARONSON, EDINGER
                                         & PATANZO, P.A.


                                           /s/ Gary S. Edinger
                                         GARY S. EDINGER, Esquire
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  On The Motion:

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                           CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on July 9, 2025, I electronically filed the

   foregoing document with the Clerk of the Court using CM/ECF system, which will

   serve notice of the same upon all counsel of record.


                                           /s/ Gary S. Edinger
                                         GARY S. EDINGER, Esquire
                                         Florida Bar No.: 0606812
